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                              No. 23-35135

           In the United States Court of Appeals
                  FOR THE NINTH CIRCUIT


   REBECCA STELMAN; MARK OCHOA; IAN COLEMAN; CAITLYN
    HOLLERBACH; LOUIS WEATHERSTON; DEMETRIES WRIGHT;
  JONAS NYARIS; JANNI SAMUEL; MAIRA HERNANDEZ; LINDSAY
     MOORE, individually and on behalf of all others similarly situated,
                                           Plaintiffs-Appellees,
                                      v.
           AMAZON.COM, INC.; AMAZON LOGISTICS, INC.,
                                           Defendants-Appellants,
                                     and
    TEM EXPRESS LOGISTICS LLC, dba TEML dba Temex Logistics;
   TORITSE ORUBU; J DOE ORUBU; BUTCHIE BOY PRODUCTIONS
  INC., dba Exselon; JEFFREY BUTCHER, individually and on behalf of the
    marital community composed of Jeffrey Butcher ad Kathryn Butcher;
                     (caption continued on inside cover)


  On Appeal from the United States District Court for the Western District of
               Washington, No. 2:22-cv-01632 (Martinez, J.)


                         BRIEF OF APPELLANTS


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    Case: 23-35135, 04/24/2023, ID: 12701949, DktEntry: 10, Page 2 of 38




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     LLC, dba ASTG, a Washington limited liability company; KINGSLEY
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      composed of Kingsley Onuchukwu and J. Doe Onuchukwu; ANAHIT
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     composed of Anahit Manukyan and J. Doe Manukyan; BENCHMARK
    TRANSPORT LLC, a Washington limited liability company; DAMIEN
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       CHRISTOPHER LILLEY, individually and on behalf of the marital
       community composed of Christopher Lilley and J. Doe Lilley; BBW
        HOLDINGS INC, a Michigan corporation; BARRY WILLIAMS,
    individually and on behalf of the marital community composed of Barry
Williams and J. Doe Williams; PARAGON DELIVERIES INC, Washington
  corporation; JORDAN OFFUTT, individually and on behalf of the marital
             community composed of Jordan Offutt and J. Doe Offutt,
                                         Defendants.
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                CORPORATE DISCLOSURE STATEMENT

      Defendants-Petitioners Amazon.com, Inc. and Amazon Logistics, Inc.

(collectively, “Amazon”) make the following disclosure:

       Amazon.com, Inc. has no parent company, and no other publicly held

         company owns 10% or more of Amazon.com, Inc.’s stock.

       Amazon Logistics, Inc. is a wholly owned subsidiary of Amazon.com,

         Inc.




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                                INTRODUCTION

      Plaintiffs filed this wage-and-hour action in Washington state court, alleging

that Defendants denied them rest and meal breaks and certain compensation.

Although the litigation satisfies the prerequisites for removal under the Class Action

Fairness Act of 2005 (“CAFA”), the District Court remanded the action to state

court, under what is known as CAFA’s home-state exception. The exception

authorizes a remand “only if all primary defendants are citizens of the alleged home

state.” Singh v. Am. Honda Fin. Corp., 925 F.3d 1053, 1068 (9th Cir. 2019) (citation

and quotation marks omitted). Plaintiffs did not, and cannot, show that all primary

defendants in this case are citizens of Washington. So this Court should reverse.

      Defendants fall into three categories:       (1) the companies that directly

employed Plaintiffs as package delivery drivers; (2) the individuals that managed or

owned those companies; and (3) Amazon.com, Inc. and Amazon Logistics, Inc.

(together, “Amazon”), which contracted for the companies’ package delivery

services. The District Court decided that Amazon is a primary defendant, but failed

to address whether the direct employers also qualify as primary defendants. That

second question is critical. If the direct employers are primary defendants, then not

all primary defendants are Washington citizens, and the home-state exception cannot

apply. It is undisputed that one of the direct-employer Defendants is a citizen of

Michigan, not Washington.



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      Had the District Court properly applied this Court’s precedent, it would have

seen that Plaintiffs’ direct employers are among this case’s primary defendants.

Each direct employer is “a principal, fundamental, or direct defendant,” not someone

that Plaintiffs hope to hold “vicariously or secondarily liable.” Singh, 925 F.3d at

1068 (citation and quotation marks omitted). By the Complaint’s own allegations,

the direct employers bear direct responsibility for the working conditions and

payment practices that Plaintiffs challenge. Their allegation that Amazon is a “joint

employer” of every driver cannot change that. Whatever theory Plaintiffs use to

target Amazon, Plaintiffs seek to hold the direct employers directly responsible for

their own acts and omissions. The direct employers could face substantial liability.

And Plaintiffs have identified no wage-and-hour action in which class members’

direct employers were thought to be merely secondary defendants.

      The District Court may have reached the wrong result because it started from

the wrong premise. It thought it should “presume[]” that removal was improper and

“strictly construe” the statute to achieve that outcome. ER-7 (citation omitted). Just

the opposite is true: “no antiremoval presumption attends cases invoking CAFA.”

Jauregui v. Roadrunner Transp. Servs., Inc., 28 F.4th 989, 992–93 (9th Cir. 2022)

(quoting Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89

(2014)). Courts must read CAFA “broadly” and resolve doubts in favor of removal.

Id. (citation omitted). For this reason too, the Court should reverse.



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                       STATEMENT OF JURISDICTION

      The District Court had jurisdiction under 28 U.S.C. § 1332(d)(2), because

Plaintiffs are citizens of Washington and Defendant B.B.W. Holdings, Inc., is a

citizen of Michigan, there are at least 100 putative class members, and the amount

in controversy exceeds $5 million. ER-60–73 (¶¶ 6–40).

      This Court has appellate jurisdiction under 28 U.S.C. § 1291 because the

District Court’s order remanding the case to Washington state court is appealable as

a final decision and collateral order. See, e.g., Quackenbush v. Allstate Ins. Co., 517

U.S. 706, 712–15 (1996); Cal. Dep’t of Water Res. v. Powerex Corp., 533 F.3d 1087,

1096–97 (9th Cir. 2008).

      The appeal is not barred by 28 U.S.C. § 1447(d). Section 1447(d) does not

bar appeal of “abstention-based remand order[s]” because they are “not based on

lack of subject matter jurisdiction or defects in removal procedure.” Acad. of

Country Music v. Cont’l Cas. Co., 991 F.3d 1059, 1065 (9th Cir. 2021) (quoting

Quackenbush, 517 U.S. at 712). It is well settled that CAFA’s “local controversy

and home state exceptions are not jurisdictional,” but “a form of abstention.” Adams

v. W. Marine Prods., Inc., 958 F.3d 1216, 1223 (9th Cir. 2020); see also, e.g., Visendi

v. Bank of Am., N.A., 733 F.3d 863, 869–70 & n.3 (9th Cir. 2013); Serrano v. 180

Connect, Inc., 478 F.3d 1018, 1022 (9th Cir. 2007). Recognizing these settled

principles, courts of appeals properly exercise Section 1291 jurisdiction over remand



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orders applying the CAFA exceptions. See, e.g., Simring v. GreenSky, LLC, 29 F.4th

1262, 1266 (11th Cir. 2022); Kitchin v. Bridgeton Landfill, LLC, 3 F.4th 1089, 1092

(8th Cir. 2021).

      The District Court entered its order on February 10, 2023. ER-10. Amazon

filed its notice of appeal on February 21, 2023. ER-127–30. The appeal is timely

under Federal Rule of Appellate Procedure 4(a)(1)(A).

                         STATEMENT OF THE ISSUE

      Whether CAFA’s home-state exception is inapplicable because the twelve

companies that allegedly employed Plaintiffs directly, and that allegedly caused the

challenged employment practices, are among the case’s primary defendants.

                          STATEMENT OF THE CASE

I.    Statutory Background

      Congress passed CAFA in 2005 to “significantly expand[] federal jurisdiction

in diversity class actions.” Lewis v. Verizon Commc’ns, Inc., 627 F.3d 395, 398 (9th

Cir. 2010). The statute “strongly favor[s] federal jurisdiction over interstate class

actions.” King v. Great Am. Chicken Corp., Inc., 903 F.3d 875, 878 (9th Cir. 2018).

Its “provisions should be read broadly, with a strong preference that interstate class

actions should be heard in a federal court if properly removed by any defendant.”

Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014) (quoting

S. REP. NO. 109-14, at 43 (2005)).



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      As relevant here, CAFA creates diversity jurisdiction over class actions with

an aggregate amount in controversy over $5 million and at least one “member of a

class of plaintiffs [who] is a citizen of a State different from any defendant.” 28

U.S.C. § 1332(d)(2)(A); see also, e.g., Standard Fire Ins. Co. v. Knowles, 568 U.S.

588, 592 (2013). There must be at least 100 members of the proposed plaintiff

classes in the aggregate. 28 U.S.C. § 1332(d)(5)(B).

      “Congress provided exceptions to CAFA jurisdiction, however, to allow truly

intrastate class actions to be heard in state court.” Adams, 958 F.3d at 1220. The

first is the local-controversy exception. It requires courts to decline jurisdiction if

two-thirds of the putative class members are citizens of the state where the action

was filed, the principal injuries occurred in that state, and a significant defendant is

a citizen of that state (but not if any defendant faced a similar class action within the

prior three years). 28 U.S.C. § 1332(d)(4)(A).

      The other exception is the home-state exception, which has both “mandatory”

and “discretionary” versions. See Adams, 958 F.3d at 1220–21. The mandatory

version requires a district court to decline jurisdiction if “two-thirds or more of the

members of all proposed plaintiff classes in the aggregate, and the primary

defendants, are citizens of the State in which the action was originally filed.” 28

U.S.C. § 1332(d)(4)(B). The discretionary version permits a district court to decline

jurisdiction, based on six factors, if “greater than one-third but less than two-thirds



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of the members of all proposed plaintiff classes in the aggregate and the primary

defendants are citizens of the State in which the action was originally filed.” Id.

§ 1332(d)(3).

II.   Plaintiffs’ Allegations

      Plaintiffs filed this wage-and-hour action in King County Superior Court in

Washington state on September 30, 2022. See ER-78. They are ten individuals who

allegedly worked as package delivery drivers. ER-78–85 (¶¶ 3.1–3.10).1

      Defendants are fourteen companies and eighteen individuals. ER-85–94

(¶¶ 3.11–42). Plaintiffs “worked directly” for twelve of those companies, which the

Complaint calls “Delivery Service Providers” or “DSPs”: TEM Express Logistics

LLC, Butchie Boy Productions, Inc., Asteroids Group LLC, Benchmark Transport,

LLC, The Total Package Logistics, LLC, Aslar Logistics LLC, GoPlay Logistics

LLC, Avanator.com LLC, Pole Position Express Logistics LLC, True Management

LLC, B.B.W. Holdings, Inc., and Paragon Deliveries Inc. ER-80, ER-103–04

(¶¶ 1.1, 4.4, 5.1). These DSPs are the entities that pay Plaintiffs. ER-94–100

(¶¶ 4.1.1–21).

      Beyond the twelve DSPs, Plaintiffs assert claims against Amazon.com, Inc.

and Amazon Logistics, Inc., and eighteen alleged managers or owners of the twelve


1
 The ten Plaintiffs are Rebecca Stelman, Mark Ochoa, Ian Coleman, Caitlyn
Hollerbach, Louis Weatherston, Demetries Wright, Jonas Nyaris, Janni Samuel,
Maira Hernandez, and Lindsay Moore.

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DSPs. ER-85–94 (¶¶ 3.11, 3.12, 3.14, 3.16–17, 3.19–20, 3.22–23, 3.25–27, 3.29–

30, 3.32, 3.34, 3.36, 3.38, 3.40, 3.42). Plaintiffs allege that the Amazon Defendants

are “joint employers” because Amazon contracts with the DSPs for delivery of

Amazon packages and because Amazon supposedly retains control over Plaintiffs’

work. See ER-104–06 (¶ 5.1).

      Plaintiffs’ core allegation is that Defendants failed to provide certain rest and

meal breaks and compensation:

             the Amazon Defendants and DSP Defendants have
             engaged in a common course of failing to provide
             employees with the rest and meal breaks to which they are
             entitled; failing to ensure employees receive the rest and
             meal breaks to which they are entitled; failing to
             compensate employees for missed rest and meal breaks;
             failing to compensate employees for all hours worked; and
             failing to pay all overtime wages owed.

ER-80–81 (¶ 1.1). There are six claims for relief. Five arise under Washington state

law and are asserted against all “Defendants,” with no distinction between them.

ER-110–14 (¶¶ 6.1–10.5). The sixth arises under Seattle’s municipal code and is

asserted against Amazon and the Defendants associated with five DSPs that

allegedly operated within Seattle. ER-114–16 (¶¶ 11.1–10).

      The Complaint seeks relief on behalf of a proposed class and twenty proposed

subclasses. ER-94–100 (¶ 4.1). The proposed “Class” includes individuals who,

since September 30, 2019, “have performed services for the Amazon Defendants in

Washington as non-managerial and non-supervisory package delivery drivers and


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have been paid by a contracted delivery service provider that had an Amazon

Delivery Provider agreement with one or both of the Amazon Defendants.” ER-94

(¶ 4.1.1). The proposed subclasses are narrowed by geography or the identity of the

DSP that directly employed the putative class members. ER-94–100 (¶¶ 4.1.2–21).

For example, the proposed “B.B.W. Holdings Subclass” includes those who “have

been paid by Defendant B.B.W. Holdings, Inc. to perform services for the Amazon

Defendants in Washington as non-managerial and non-supervisory package delivery

drivers.” ER-100 (¶ 4.1.20).

III.   The District Court’s Remand Decision

       Amazon timely removed this action to federal court under CAFA. See ER-59

(¶ 5). As the notice of removal explained, the District Court had subject-matter

jurisdiction because Defendant B.B.W. Holdings, Inc. is a citizen of Michigan and

Plaintiffs are citizens of Washington, there are 100 or more putative class members,

and the amount in controversy exceeds $5 million. ER-60–73 (¶¶ 6–40); see 28

U.S.C. §º1332(d)(2), (d)(5)(B). Plaintiffs’ motion to remand did not contest whether

Amazon had sufficiently established the prerequisites for CAFA removal. In fact,

the Complaint itself alleges that B.B.W. Holdings, Inc. is a Michigan corporation.

ER-93 (¶ 3.39). Instead, Plaintiffs’ argument for remand was that CAFA’s home-

state exception required the District Court to decline jurisdiction. See ER-47–54.

The key dispute was whether the two Amazon Defendants are the only primary



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defendants or whether the twelve DSPs, including B.B.W. Holdings, qualify as well.

See ER-15, ER-17–24; ER-29, ER-31–35; ER-51–54.2

      A week after briefing was complete, and without oral argument, the District

Court granted Plaintiffs’ motion. ER-4–10. It did not deny that Amazon sufficiently

established the jurisdictional prerequisites for CAFA removal, but it found that the

home-state exception applied. Id. The two Amazon Defendants qualified as primary

defendants, in its view, because Amazon is “alleged to be directly responsible for

the harm” and could be liable to all putative class members. ER-8–9. The court did

not discuss whether the twelve DSPs also qualify as primary defendants. See id.

      Amazon moved to stay the District Court’s remand order pending this appeal,

but the District Court denied the motion. ER-11–12.

                          SUMMARY OF ARGUMENT

      The District Court’s remand order rests on the view that Amazon qualifies as

a primary defendant. But this view about Amazon cannot justify remand. The law

is clear that the home-state exception applies only if all primary defendants are

forum-state citizens. The District Court made no finding that the twelve DSPs,

including the Michigan citizen, fail the test for primary-defendant status.



2
  Plaintiffs did not contest the notice of removal’s explanation for why the local-
controversy exception is inapplicable: several similar wage-and-hour actions were
filed during the three years before this lawsuit. ER-74–75 (¶¶ 42–44); see 28 U.S.C.
§ 1332(d)(4)(A).

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      Nor could that finding be defended. Plaintiffs allege that the twelve DSPs

directly employed them and paid their salaries. They even allege that working

conditions and payment practices were set by the DSPs’ management. When a

lawsuit challenges working conditions and payment practices, each defendant

directly responsible for those subjects counts as a primary, fundamental, or direct

defendant. Although Plaintiffs claim that Amazon is also responsible for the

challenged conduct, their joint employment allegations do not pretend that Amazon

is more directly responsible for drivers’ meal and rest periods or payments than the

twelve direct employers. Plaintiffs do allege that Amazon, unlike each individual

DSP, is liable to all class members. But that at most explains why Amazon should

qualify as a primary defendant, not why the direct employers should not. Plaintiffs

seek to impose substantial liability on the DSPs, too. And no authority supports

denying primary-defendant status to the direct employers in a wage-and-hour action.

      The District Court’s analysis was tainted by an explicit presumption against

removal.   That presumption violates clear Supreme Court and Ninth Circuit

precedent that there is no antiremoval presumption under CAFA. The statute

strongly favors removal and should be read broadly. Appellate courts across the

country therefore read CAFA’s exceptions narrowly and resolve doubts in favor of

federal jurisdiction. This Court should take the same approach and reject Plaintiffs’

attempt to expand the home-state exception beyond its proper bounds.



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                             STANDARD OF REVIEW

      This Court reviews de novo a remand under CAFA’s mandatory home-state

exception. E.g., Brinkley v. Monterey Fin. Servs., Inc., 873 F.3d 1118, 1121 (9th

Cir. 2017).

                                    ARGUMENT

I.    The home-state exception cannot apply unless every primary defendant
      is a citizen of Washington.

      CAFA’s home-state exception applies only when “the primary defendants[]

are citizens of the State in which the action was originally filed.” 28 U.S.C.

§ 1332(d)(4)(B). Under this language, every primary defendant must be a citizen of

the forum state: “[B]y using the word ‘the’ before the words ‘primary defendants’

rather than the word ‘a,’ CAFA requires remand under the home state exception only

if all primary defendants are citizens of the alleged home state.” Singh v. Am. Honda

Fin. Corp., 925 F.3d 1053, 1068 (9th Cir. 2019) (citation, brackets, and some

quotation marks omitted); see also 2 WILLIAM B. RUBENSTEIN, NEWBERG ON CLASS

ACTIONS § 6:20 (6th ed. 2022) (“Most courts agree that the use of the definite article

in ‘the primary defendants’ requires that all of the primary defendants be citizens of

the state in which the action was originally filed.”). “It is insufficient that only some

of the primary defendants are citizens of that state.” Singh, 925 F.3d at 1068.

      The District Court never acknowledged this important point. See ER-8–9.

Although it cited Singh’s test for primary-defendant status, it did not mention


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Singh’s rule that every primary defendant must be a forum-state citizen. Id. The

District Court seemed to think it was dispositive that the Amazon Defendants qualify

as primary defendants. ER-9. Its order focused exclusively on Amazon’s status and

rested on two findings about Amazon: (1) “Amazon Defendants are alleged to be

directly responsible for the harm to the proposed class(es),” and (2) “Amazon

Defendants’ potential exposure to the proposed Class is much greater relative to the

exposure of other Defendants.” Id. Then, in its concluding paragraph, the District

Court stated that the home-state exception applied because “Amazon is a principal,

fundamental, or direct defendant.” Id. The District Court’s order denying a stay

pending appeal repeated this claim that remand was proper because “Amazon is a

principal, fundamental, or direct defendant.” ER-12.

      But under Singh’s clear instructions, whether Amazon is a primary defendant

is not dispositive—or particularly relevant. For the home-state exception to apply

here, “all of the primary defendants [must] be citizens of the state in which the action

was originally filed.” Singh, 925 F.3d at 1068 (emphasis added) (citation omitted).

The critical question then—and the parties’ sole dispute—is whether the twelve

DSPs, including B.B.W. Holdings, qualify as primary defendants.

      The District Court never faced that question head-on. It never applied this

Court’s test (or any other test) for primary defendants to the twelve DSPs. See ER-

8–9. Nor did it discuss any case law addressing similar questions. Had it done so,



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as discussed next, it would have had to conclude that the twelve DSPs are among the

primary defendants in this action, even if the two Amazon entities are primary

defendants, too.

II.   The twelve DSPs are among the primary defendants in this action and
      are not all Washington citizens.

      CAFA “does not define ‘primary defendant,’” and courts have “looked to

‘numerous factors’ to define the term.” Singh, 925 F.3d at 1067 (citation omitted).

The ultimate question, however, is “whether a defendant is a ‘principal,’

‘fundamental,’ or ‘direct’ defendant.” Id. at 1068 (citation and some quotation

marks omitted).

      To answer that question, trial courts must “first assume that all defendants will

be found liable” and “then consider whether the defendant is sued directly or alleged

to be directly responsible for the harm to the proposed class or classes, as opposed

to being vicariously or secondarily liable.” Id. Courts should “also consider the

defendant’s potential exposure to the class relative to the exposure of other

defendants.” Id. The Singh Court drew these factors from Third Circuit precedent

asking whether “plaintiffs seek to hold the defendant responsible for its own actions,

as opposed to seeking to have it pay for the actions of others,” and also “whether,

given the claims asserted against the defendant, it has potential exposure to a

significant portion of the class and would sustain a substantial loss as compared to

other defendants if found liable.” Id. at 1067–68 (quoting Vodenichar v. Halcon


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Energy Props., Inc., 733 F.3d 497, 505–06 (3d Cir. 2013)). Singh emphasized,

though, that “[c]ourts should not treat these considerations as exhaustive or apply

them mechanistically.” Id. at 1068.

      Under Singh’s framework, the twelve DSPs qualify as primary defendants.

And because one of those twelve—B.B.W. Holdings—is undisputedly a citizen of

Michigan, not Washington, the home-state exception does not apply. See ER-61–

62 (¶ 11); ER-93 (¶ 3.39).

      A.    Plaintiffs allege that the twelve DSPs are their direct employers
            and seek to hold the DSPs responsible for the DSPs’ own actions.

      The twelve DSPs plainly satisfy Singh’s direct-liability factor: they are “sued

directly or alleged to be directly responsible for the harm to the proposed class or

classes, as opposed to being vicariously or secondarily liable.” Singh, 925 F.3d at

1068. The Complaint alleges that Plaintiffs and similarly situated delivery drivers

“worked directly for an Amazon Delivery Service Provider.” ER-104 (¶ 5.1); see

also ER-103 (¶ 4.4) (“All Plaintiffs . . . have worked directly for an Amazon

DSP[.]”); ER-104 (¶ 5.1.1) (“Plaintiffs and members of the Class and Subclasses

work for so-called Delivery Service Providers on Amazon routes[.]”).             The

Complaint also alleges that the putative class members are “paid by [their]

contracted delivery service provider,” rather than Amazon itself. ER-94 (¶ 4.1.1);

see ER-94–100 (¶¶ 4.1.2–4.1.21) (alleging that members of each proposed subclass

were “paid by” the relevant DSP). It even alleges that the managers/owners of the


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twelve DSPs are responsible for “determining certain employment practices” and

“exercising certain control over how the company’s employees are paid and their

working conditions.” E.g., ER-93 (¶ 3.40).

      These employment practices form the crux of the Complaint. Plaintiffs allege

insufficient meal and rest breaks and compensation. ER-80–81 (¶ 1.1). The DSPs

are thus “allegedly responsible for the direct harm to [drivers].” Singh, 925 F.3d at

1069. And Plaintiffs “seek to hold [each DSP] responsible for its own actions, as

opposed to seeking to have it pay for the actions of others.” Id. at 1067 (citation

omitted).

      By Plaintiffs’ own allegations, then, each of the twelve DSPs “is a ‘principal,’

‘fundamental,’ or ‘direct’ defendant.” Id. at 1068 (citation omitted). The twelve

DSPs are Plaintiffs’ “direct” employers and the entities that pay Plaintiffs, and

Plaintiffs seek to impose liability for employment conditions and payment practices.

      B.     Plaintiffs’ joint-employment allegations do not detract from the
             DSPs’ status as primary defendants.

      The District Court’s first finding about Amazon was that Amazon is allegedly

“directly responsible for the harm to the proposed class(es).” ER-9. But at most,

the Complaint merely alleges that Amazon was Plaintiffs’ “joint employer[]”

alongside their direct employers, the DSPs. ER-104 (¶ 5.1). Plaintiffs have not

shown—or even alleged—that Amazon is directly responsible for the complained-

of employment practices for rest and meal breaks and driver compensation. On the


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contrary, the Complaint expressly alleges, as noted above, that “control over how

[drivers] are paid and their working conditions” is exercised at the DSP level. E.g.,

ER-93 (¶ 3.40).

      In contrast, Plaintiffs’ sparse allegations about Amazon’s purported control

do not directly implicate breaks or payments. See ER-104–06 (¶¶ 5.1.1-5.1.16). Not

even Amazon’s alleged control over “driver schedules and work hours,” directly

implicates those issues. See ER-104–05 (¶ 5.1.2). Amazon’s alleged control over

scheduling amounts to requiring pickups at “Amazon distribution center[s]” and

requiring deliveries during “certain time frames.” See id.

      In fact, Plaintiffs fault Amazon for allegedly “fail[ing] to pay their Delivery

Service Providers a sufficient amount to ensure the Delivery Service Providers pay

all required overtime wages to second-tier delivery drivers.” ER-110 (¶ 5.5.5)

(emphasis added). This allegation reinforces that the DSPs, not Amazon, are directly

responsible for paying wages to drivers, and that Amazon is responsible only

indirectly, if at all. Amazon’s liability is thus “contingent on a threshold finding”

that the DSPs’ conduct violated the wage-and-hour laws, and Plaintiffs seek to have

Amazon “pay for the actions of others.” Singh, 925 F.3d at 1067–68 (citations

omitted).3


3
  The law sometimes distinguishes between “primary” and “secondary” joint
employers, based on level of responsibility to hire and fire, make assignments, and
provide compensation. See, e.g., Moreau v. Air France, 356 F.3d 942, 946 (9th Cir.

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      Plaintiffs do make conclusory allegations that all defendants “engaged in a

common course” of alleged conduct and omissions. ER-106–10 (¶¶ 5.2-.5). But

lumping all Defendants together as having supposedly “engaged in a common course

of” behavior cannot show that Amazon has primacy over its co-Defendants. If

anything, it reveals that all Defendants are alleged to be equally responsible and

should all be considered primary. See, e.g., Vodenichar, 733 F.3d at 506 (finding all

defendants to be primary defendants because “Plaintiffs allege that each defendant

is directly liable, appear to apportion liability equally among the defendants, and

seek similar relief from all defendants”).

      That conclusion finds further support in the most relevant case law addressing

the home-state exception in wage-and-hour litigation.        In Morand-Doxzon v.

Delaware North Cos. Sportservice, Inc., No. 20-cv-1258, 2020 WL 6391194, at *5

(S.D. Cal. Nov. 2, 2020), a plaintiff asserted meal and rest period and overtime

claims against her direct employer and that company’s parent corporation under a

joint-employer theory. The court determined that the home-state exception did not

apply because, under Singh, the two alleged joint employers both qualified as

primary defendants. Id. The plaintiff alleged “that she and other putative class

members were employed by both,” made “the same allegations against both,” and


2004) (citing 29 C.F.R. § 825.106(c)). Plaintiffs’ allegations about the twelve DSPs’
role as their direct employers and payors of compensation show that the twelve
DSPs, not Amazon, would be Plaintiffs’ primary joint employers.

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sought “the same relief from both.” Id. Similarly, in Wellons v. PNS Stores, Inc.,

No. 18-cv-2913, 2019 WL 2099922, at *5 (S.D. Cal. May 14, 2019), the home-state

exception did not apply because the out-of-state defendant was “responsible” for the

challenged employment practices.

      The District Court cited no contrary case holding that a direct employer,

directly responsible for challenged employment practices, somehow was not a

primary defendant. See ER-19–20. Courts instead hold that when a plaintiff asserts

“theories of direct liability against all Defendants” and “fails to distinguish among

defendants as to theories of liability, all are considered primary defendants.”

Nicholson v. Prime Tanning Corp., No. 09-cv-6083, 2009 WL 2900042, at *2 (W.D.

Mo. Sept. 3, 2009); see also, e.g., Kearns v. Ford Motor Co., No. 05-cv-5644, 2005

WL 3967998, at *8 (C.D. Cal. Nov. 21, 2005) (“Plaintiff’s own allegations establish

that both Ford and Claremont Ford are potentially directly liable to the plaintiff

class”). And courts likewise find all defendants to be primary when the plaintiff

alleges “that all defendants are engaged in a common enterprise and should be held

joint and severally liable for their conduct.” Green v. Skyline Highland Holdings

LLC, No. 17-cv-534, 2017 WL 6001498, at *4 (E.D. Ark. Dec. 4, 2017). The

Complaint’s joint-employer allegations therefore only confirm that the twelve DSPs

are among the primary defendants in this action.




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      C.     Amazon’s potential liability to all class members does not prevent
             the twelve DSPs from qualifying as primary defendants.

      The District Court’s second finding was that “Amazon is the only Defendant

in this case that is potentially liable to every class member.” ER-9. Perhaps the

court thought that Amazon’s alleged connection to all putative class members

prevented Plaintiffs’ respective direct employers from also qualifying as primary

defendants. That view would conflict with Singh and other home-state exception

rulings.

      While Singh tells courts to consider a defendant’s potential exposure to the

class along with the direct-liability factor, it never suggested that both factors must

be met in every case. In fact, it would contradict Singh to treat one defendant’s

potential liability to every putative class member as precluding other defendants

from qualifying as primary defendants. In Singh, some car buyers sued their car

dealerships, the dealerships’ owner, and a financing company. 925 F.3d at 1058 &

n.1, 1068–69. The financing company was not a primary defendant, despite its

potential liability to all class members, but the “Dealership Defendants”—the car

dealerships and the owner—were primary defendants because they were “allegedly

responsible for the direct harm to consumers: improperly charging for vehicle add-

ons.” Id. at 1069. Each car dealership, of course, would have made improper

charges only for vehicles sold to its own customers.          But even though each

dealership’s potential liability was limited to a subset of the class (the dealership’s


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own customers), each still counted as a primary defendant. Similarly, here, the fact

that each DSP’s potential liability is confined to its own employees does not prevent

each DSP from qualifying as a primary defendant.

      Among other cases, Singh relied on Watson v. City of Allen, 821 F.3d 634 (5th

Cir. 2016), in which the Fifth Circuit reached a similar outcome. The plaintiff in

Watson was challenging red-light cameras at traffic intersections and sued the state

of Texas, fifty-three Texas municipalities, and several private companies. Id. at 637.

He contended that the state statute authorizing municipalities to adopt red-light-

camera ordinances, and the municipal ordinances themselves, were unlawful. Id.

Texas was potentially liable to all putative class members, but each municipality’s

potential liability was limited to the drivers harmed by that municipality’s own

ordinance. See id. at 641 (“[A]ll of the putative plaintiffs will have claims against

Texas, against at least one municipality, and against at least one of the private

companies.”). Yet even though the municipalities did not face exposure to the whole

class, the Fifth Circuit ruled that “the state and the municipalities [were] primary

defendants” because they together “had the ‘primary role in the alleged’ violations.”

Id. (emphasis added) (citation omitted). The three private companies, in contrast,

were not primary defendants because their liability was “contingent” on other

defendants’ liability. Id.




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      The DSPs’ alleged liability here is not contingent on Amazon’s alleged

liability. If anything, the opposite is true: Amazon’s liability may depend on the

DSPs’ liability for improper employment and payment practices. See supra p. 16.

As alleged in the Complaint, the DSPs are more directly responsible than Amazon

for the purported meal and rest period violations and purported under-compensation.

And DSPs as a group could be liable to all putative class members. Because the

class is limited to drivers “paid by a contracted delivery service provider,” it contains

no driver who worked directly for Amazon. ER-94 (¶ 4.1.1). Refusing to find that

the DSPs are primary defendants because they are liable only to their own employees

would be the sort of “mechanical review” that Singh teaches “is inappropriate.” 925

F.3d at 1069.

      Properly understood, Singh shows that the direct-liability and relative-

exposure factors are each proper grounds for finding primary-defendant status. That

is how courts have understood the relationship between these factors: significant

exposure can make up for a lack of direct liability. See, e.g., Villalpando v. Exel

Direct Inc., No. 12-cv-4137, 2012 WL 5464620, at *9 (N.D. Cal. Nov. 8, 2012)

(“[A] defendant may be considered a ‘primary defendant’ if, based on the allegations

in the complaint, it has substantial exposure to significant portions of the proposed

class in the action, or is allegedly liable to the vast majority of the members of the

proposed classes, even if that defendant faces only derivative liability.” (emphasis



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added)); Madison v. ADT, L.L.C., 11 F.4th 325, 329 (5th Cir. 2021) (holding that a

corporation was a primary defendant because plaintiff hoped “to gain access to [the

corporation’s] deep pockets,” even though plaintiff did not assert claims alleging

that the corporation was directly liable for its employee’s misconduct). But facing

direct liability is sufficient for primary-defendant status. See Villalpando, 2012 WL

5464620, at *9 (“[T]he Court finds that a defendant who, based on the allegations in

the complaint, has some direct liability to the plaintiffs, is a primary defendant.”);

Kearns, 2005 WL 3967998, at *8 (“[T]he usage of the term as in tort law [is] the

most appropriate and workable: a ‘primary defendant’ is any with direct liability to

the plaintiffs.”).

       Viewing the two Singh factors as alternative paths to primary-defendant status

also fits the legislative history. Cf. Singh, 925 F.3d at 1067 (noting that the Third

Circuit’s articulation of these factors “rel[ied] heavily on CAFA’s legislative

history”). In a floor statement, Representative Goodlatte stated that “the term

‘primary defendant’ should include any person who has substantial exposure to

significant portions of the proposed class in the action, particularly any defendant

that is allegedly liable to the vast majority of the members of the proposed classes,

as opposed to simply a few individual class members.” 151 CONG. REC. H723-01,

H732, 2005 WL 387992 (daily ed. Feb. 17, 2005); accord S. REP. NO. 109-14, at 43.

This deliberately expansive language—“should include any person . . . , particularly



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any defendant”—does not limit other grounds for finding primary-defendant status

or provide a necessary precondition for such status.

       In any event, the twelve DSPs meet the legislative history’s description. The

DSPs have “substantial exposure to significant portions of the proposed class,” not

just a few individuals. The Complaint concedes that Plaintiffs seek “significant

relief” from the “DSP Defendants,” not just Amazon, and that their alleged conduct

“forms a significant basis for the claims asserted.” ER-81 (¶ 2.4). The Complaint

even proposes subclasses for each of the twelve DSPs, alleging that the members of

every subclass are “so numerous that joinder of all such members is impracticable.”

ER-101 (¶ 4.2). B.B.W. Holdings allegedly “employed Plaintiff Hernandez and

scores of other employees in the state of Washington.” ER-93 (¶ 3.39). Given these

allegations, the DSPs have more than enough exposure to qualify as a primary

defendant, even if their alleged direct liability were not sufficient on its own.

III.   CAFA should be construed expansively, and doubts should be resolved
       against remand.

       If there were any doubt about how to apply the home-state exception here, the

Court should resolve it in favor of federal jurisdiction, not against it. The District

Court erroneously adopted the opposite presumption.             It began by quoting

inapplicable, non-CAFA precedent: “Typically, it is presumed that a cause lies

outside the limited jurisdiction of the federal courts and the burden of establishing

the contrary rests upon the party asserting jurisdiction.”        ER-7 (brackets and


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quotation marks omitted) (quoting Hunter v. Philip Morris USA, 582 F.3d 1039,

1042 (9th Cir. 2009)). The District Court thought that courts should “strictly

construe the removal statute against removal jurisdiction.” Id. (quoting Gaus v.

Miles, Inc., 980 F.2d 564, 566 (9th Cir. 1992) (per curiam)).

      The District Court was wrong to apply these antiremoval presumptions. The

Supreme Court has made clear that “no antiremoval presumption attends cases

invoking CAFA, which Congress enacted to facilitate adjudication of certain class

actions in federal court.” Dart Cherokee, 574 U.S. at 89. Just the opposite, CAFA’s

“provisions should be read broadly, with a strong preference that interstate class

actions should be heard in a federal court if properly removed by any defendant.”

Id. (citation omitted). This Court has likewise stressed that CAFA permits “no

antiremoval presumption,” Ehrman v. Cox Commc’ns, Inc., 932 F.3d 1223, 1228

(9th Cir. 2019) (citation omitted), and that “Congress intended CAFA to be

interpreted expansively,” Ibarra v. Manheim Invs., Inc., 775 F.3d 1193, 1197 (9th

Cir. 2015).

      This Court has properly reversed trial court rulings that disfavored CAFA

removal as the District Court did here. For instance, in Jauregui, the district court

erred by “putting a thumb on the scale against removal.” 28 F.4th at 992. Like the

District Court below, it invoked Gaus for the proposition that courts “strictly

construe the removal statute against removal jurisdiction.” Jauregui, 28 F.4th at 993



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(citation omitted). But this Court explained why that is wrong. Courts should

instead adopt “an expansive understanding of CAFA” and should not presume “that

removal under CAFA should be met with a level of skepticism and resistance.” Id.;

see also Arias v. Residence Inn by Marriott, 936 F.3d 920, 922 (9th Cir. 2019)

(expressing concern that “remnants of [an] antiremoval presumption seem to persist”

in CAFA rulings despite Dart Cherokee).

      Plaintiffs convinced the District Court to resolve doubts against removal. See

ER-16–17. But the court should have followed the wealth of CAFA authority that

Amazon identified. See ER-31. Appellate cases from across the country instruct

that CAFA’s limited exceptions should be construed narrowly, with doubts resolved

against remand. See, e.g., Dominion Energy, Inc. v. City of Warren Police & Fire

Ret. Sys., 928 F.3d 325, 342 (4th Cir. 2019) (“CAFA’s removal exceptions must be

narrowly construed.”); Arbuckle Mountain Ranch of Tex., Inc. v. Chesapeake Energy

Corp., 810 F.3d 335, 342 (5th Cir. 2016) (“Underlying our analysis is our need to

resolve lingering doubts in favor of exercising federal jurisdiction when an exception

to [CAFA] jurisdiction is asserted.”); Preston v. Tenet Healthsystem Mem’l Med.

Ctr., Inc., 485 F.3d 804, 810 (5th Cir. 2007) (“[T]he local controversy and home

state exceptions should be construed narrowly and resolved in favor of federal

jurisdiction.”); Davenport v. Lockwood, Andrews & Newnam, Inc., 854 F.3d 905,

910 (6th Cir. 2017) (“[C]ourts agree that ‘[a]ny doubt about the applicability of the



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local-controversy exception [should be] resolved against the party seeking remand.’”

(citation omitted)); Hargett v. RevClaims, LLC, 854 F.3d 962, 965 (8th Cir. 2017)

(“[A] district court should resolve any doubt about the applicability of CAFA’s

local-controversy exception against the party who seeks remand.” (citation,

quotation marks, and ellipsis omitted)); Simring, 29 F.4th at 1268 (“Because the

local controversy exception is a narrow one, we must resolve any doubts against this

exception to CAFA.”).

      As the Eighth Circuit recently explained, “federal courts have a strict duty to

exercise the jurisdiction that is conferred upon them by Congress, abstention is an

extraordinary and narrow exception to that duty, and thus only the clearest of

justifications will justify abstention.”   Kitchin, 3 F.4th at 1093 (citations and

quotation marks omitted). The District Court incorrectly took the opposite approach

and cut its analysis short after holding that Amazon was a primary defendant.

Plaintiffs failed to provide justification for not treating their direct employers as

among the primary defendants in this action, and the District Court erred in

remanding the case to state court.

                                  CONCLUSION

      For all these reasons, the Court should reverse the District Court’s remand

order, and it should direct the District Court to recall its remand and notify the King




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County Superior Court that it has resumed jurisdiction over the action. See Acad. of

Country Music, 991 F.3d at 1070.



Dated: April 24, 2023                        Respectfully submitted,

                                             s/ Michael E. Kenneally
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                    STATEMENT OF RELATED CASES

      In accordance with Ninth Circuit Rule 28-2.6, I state that I am unaware of any

related cases currently pending in this Court. On April 20, 2023, the Court denied

Amazon’s petition for an expedited appeal of the District Court’s order under 28

U.S.C. § 1453(c), which was docketed as case number 23-80017.



Dated: April 24, 2023                    s/ Michael E. Kenneally
                                         MICHAEL E. KENNEALLY

                                         Counsel for Amazon.com, Inc.
                                         and Amazon.com Logistics, Inc.




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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

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9th Cir. Case Number(s) 23-35135

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